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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

ALFONSO HERNANDEZ,

Plaintiff,

VS. No. CV 14-964 KG/SCY
ANDY FITZGERALD,

Defendant.

SPECIAL VERDICT FORM

In response to the following special interrogatories propounded by this Court, we, the

jury, make the following answers to which we have, by unanimous decision, agreed:

1. Do you find by a preponderance of the evidence that Defendant Andy Fitzgerald
acted “under color” of state or local law?

Yes No
If you answered “no” to the above Question, you have found in favor of Defendant Andy
Fitzgerald on all claims and have now completed the Special Verdict. Your foreperson must sign
this Special Verdict, and you will all return to open court. If you answered “yes” to the above
Question, please proceed to Question 2.
Excessive Force

2. Do you find by a preponderance of the evidence that Defendant Andy Fitzgerald’s
use of force was objectively unreasonable under the circumstances?

Yes No SS

3. Do you find by a preponderance of the evidence that Plaintiff Alfonso Hernandez
suffered an actual, nontrivial injury?

Yes No SK
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If you answered “no” to either of the above Questions, you have found in favor of
Defendant Andy Fitzgerald with regard to Plaintiffs claim of a Fourth Amendment violation
based on Excessive Force. Please proceed to Question 6 and the section entitled “Unlawful
Seizure.” If you answered “yes” to both of the above Questions, please proceed to Question 4.

4. Do you find by a preponderance of the evidence that Defendant Andy Fitzgerald’s
conduct caused Plaintiffs actual injury?

Yes Now
If you answered “no” to the above Question, you have found in favor of Defendant Andy
Fitzgerald with regard to Plaintiff's claim of a Fourth Amendment violation based on Excessive
Force. Please proceed to Question 6 and the section entitled “Unlawful Seizure.” If you
answered “yes” to the above Question, please proceed to Question 5.
5. In accordance with the damage instructions given by the Court, we award the

following compensatory or nominal damages for Plaintiffs actual injury:

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Please proceed to Question 6.

Unlawful Seizure

6. Do you find by a preponderance of the evidence that Defendant Andy Fitzgerald

seized Plaintiff Alfonso Hernandez?
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Yes No ZV

If you answered “no” to the above Question, you have found in favor of Defendant Andy
Fitzgerald with regard to Plaintiff's claim of a Fourth Amendment violation based on Unlawful
Seizure. Please proceed to Question 10. If you answered “yes” to the above Question, please

proceed to Question 7.
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7. Do you find that Defendant Andy Fitzgerald’s seizure of Plaintiff Alfonso Hernandez
was unreasonable under the circumstances?

Yes No \ /

If you answered “no” to the above Question, you have found in favor of Defendant Andy
Fitzgerald with regard to Plaintiff's claim of a Fourth Amendment violation based on Unlawful
Seizure. Please proceed to Question 10. If you answered “yes” to the above Question, please
proceed to Question 8.

8. Do you find by a preponderance of the evidence that Plaintiff Alfonso Hernandez
suffered an actual, nontrivial injury as a result of the unlawful seizure that is different
from the actual, nontrivial injury he suffered as a result of the excessive force, if any?

Yes No

If you answered “yes” to the above Question, please proceed to Question 9. If you
answered “no” to the above Question, please proceed to Question 10.

9. In accordance with the damage instructions given by the Court, we award the

following compensatory or nominal damages for Plaintiffs actual injury:

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Please proceed to Question 10.
10. Answer Question 10 only if you answered “yes” to Question 4 and/or Question 7.

Do you find by a preponderance of the evidence that Defendant Andy Fitzgerald’s
conduct was malicious, willful, reckless, wanton, or in bad faith?

Yes. No
If you answered “no” to the above question, you have completed the Special Verdict.
Your foreperson must sign this Special Verdict, and you will all return to open court. If you

answered “yes” to the above Question, please proceed to Question 11.
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11. In accordance with the damage instructions given by the Court, we award the
following punitive damages to Plaintiff Alfonso Hernandez for Defendant Andy
Fitzgerald’s violation of Plaintiff's constitutional rights:

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You have now completed the Special Verdict. Your foreperson must sign this Special

Verdict, and you will all return to open court.

   
   

DATED THIS A a DATE OF

FOREPERSON
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